Case 1:04-cr-10095-.]DT Document 9 Filed 06/07/05 Page 1 of 2 Page|'D 11

 

1N THE UNITED STATES DISTRICT COURT F'_LED B"'----D'C'
FOR THE WESTERN DISTRICT OF TENNESSEE __
wEs=PER-_P+DIVISION 05 JUN '7 PH '2‘ 25
Easfem w ___“ _ _ _
%`€§E“‘ dsuh§t°l§’?
UNITED STATES OF AMERICA W_ D, %F ~`;N‘ JA@KSO`N

v.
04-1 0095-T
NICHOLAS DEANGELO MARTIN

 

ORDER ON ARRAIGNMENT

 

This cause came to be heard on ; ; iMJ ‘27¢ 52 pa 6 , the United States Attorney
for this district appeared on behalf of the govemrr¢nt, and the defendant appeared in person and With

counsel:
(/'/”/O
NAME RWFL¢(/}\ UM `%'A /U/MJ/Fmo is Retained/Appoint£

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

 

All motions shall be filed within thirty (3 0) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

ff he defendant, who is not in custody, may stand on his present bond.

_The defendant, (not having made bond) (being a state prisoner) (being a federal prisoner)
(being held Without bond puf§Mif.TB'BlUFUf 1984), is remanded to the custody of the U. S. Marshal

»@wwk %M/w'

UNITED STATES MAGISTRATE IUDGE

CHARGES: 18:472

U. S. Attorney assigned to Case: J. Powell

Age: 5 0

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case l:04-CR-10095 Was distributed by faX, mail, or direct printing on
June 7, 2005 to the parties listed.

 

 

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

Jacl<son7 TN 38301

J ames W. PoWell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jacl<son7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

